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FILE NUMBER: 4065-123597 DATE: February 21, 2022
FROM: Nicholas A. Cummins TELEPHONE: (215) 665-3328
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Honorable Jobn Milton Younge USDC, Eastern District of Pennsylvania (267) 299-7368

 

Number of Pages (including cover sheet): 3

 

Message: Theophalis Wilson v. City of Philadelphia, et al.
U.S.D.C., Eastern District of PA, No. 21-cv-2057

 

 

 

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February 21, 2022

VIA FACSIMILE

Honorable John Younge

James A. Byrne U.S. Courthouse
601 Market Street, Room 4007
Philadelphia, PA 19106

RE: Theophalis Wilson v. City of Philadelphia, et al.
U.S.D.C., Eastern District of PA, No. 21-cv-02057
Our File No. 4065-123597

Dear Judge Younge:

I have recently been retained to represent defendants, Frank Jastrzembski and Manuel Santiago in
this matter. Enclosed for the Court’s approval is a proposed stipulation extending the time for my
clients to respond to the amended complaint to March 3, 2022. If it meets with the Court’s
approval, I would respectfully request that the Court execute the stipulation and have it filed of

tecord.
Thank you for your consideration of this matter.

Respectfully yours,

oF mmm
Nicholas A. Cummins

NAC/amp
Enclosure
cc: Via Email (w/enc.) —

Kimberly K. Winter, Esquire

Danielle Walsh, Esquire

Joseph J. Santarone, Esquire

PHILADELPHIA, PA | BLUE BELL, PA | Lancasrer, PA | PITTSBURGH, PA | LrvINGsTON, NJ | MARLTON, NJ | NEw York, NY
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

THEOPHALIS (BINKY) WILSON
v.
CITY OF PHILADELPHIA, PENNSYLVANIA,

: NO: 21-cv-02057-JMY
et al. :

 

STIPULATION FOR EXTENSION TO RESPOND TO COMPLAINT
AND NOW, on this 18" day of February, 2022, it is hereby STIPULATED and AGREED by
the undersigned counsel on behalf of their respective clients that the time for defendants, Frank

Jastrzembski and Manuel Santiago, to answer or otherwise respond to the amended complaint is

extended to March 3, 2022.
LATHROP GPM LLP

/s Kimberly K. Winter
KIMBERLY K. WINTER
Attorney for Plaintiff,
Theophalis Wilson

CITY OF PHILADELPHIA LAW
DEPARTMENT

/s Danielle Walsh

DANIELLE WALSH

Attomey for Defendants,

City of Philadelphia, Frank Margerum,
Richard Harris, and Kevin Hollinshead

Date:

BENNETT, BRICKLIN & SALTZBURG LLC

/s Nicholas A. Cummins

NICHOLAS A. CUMMINS

Attorney for Defendants,

Frank Jastrzembski and Manuel Santiago

MARSHALL DENNEHY WARNER
COLEMAN & GOGGIN

fs Joseph J. Santarone

JOSEPH J. SANTARONE

Attorney for Defendants,

Lynne Abraham and David Desiderio

Approved and So Ordered,

BY THE COURT:

 

John M. Younge, U.S.D.J.
